Case 1:22-cv-21827-KMW Document 12 Entered on FLSD Docket 07/12/2022 Page 1 of 10
                                                            In The
                                 U nited States D istrictCourt
                                 Southern b istrict of Flotida
      THOM AS K ENNEDY,                                                              N um ber:1:22-cv-21827-11M W
                   PLAINTIFF,


          RONM ,
               D DESANTIS,ET M ,
                   D EFENDANTS.


                            M otion to A llow e-filing as an A DA accom m odation'

                   NOW COMES,ScottHuminski(ûGl-
                                              luminski'),andmovesforpermissiontoe-tilein this
          case as an A DA accom m odation asfollow s:
                   Huminskihasbeen fully disabled pursuantto a SocialSecurity ctetermination forovera
          decade and hissole source ofincom eisSocialSecurity disability. Huminjlciisindigentand has
          a lim ited ability to travel.
                   The policy ofthis Courtto force the disabled indigentto travelto copy stores,pay for
          copies,kavelto shipping outlets and pay for shipping discrim inates againstthe disabled indigent
          and places able-bodied and w ell funded attorneys at an advantage in legal proceedings.
          D efendant Desantis' counsel is paid out of the treasury of Florida, has unlim ited ftmdg for
          litigation and doesn'tstlfferthe delay,travel,costand prejudice associated With engaging in
          litigation in the pre-personal computer era forced upon the indigent disabled via this Court's
          rules.
                                                                                        'Je         .
                                                                                                                                          .cssy.w=a==* '-
          D ated atM iam i,Florida this 1Stday ofJuly,20 .                             /'   .
                                                                                                                '
                                                                                                                                - -
                                                                                                                               fw
                                                                                 .
          -
            /S/- ScottHum inski                                          .            .                      .''           '
                                                                     e       .                          .*


          ScottHzmilRsz,PF0Se                           '                                           ' FjIFD BY V                                         DC
          P O R0X 353820                                                                      '                                 '' -          ''
- - .--   palm -c()ast,.F.
                         L --32135- -.                                   .----.--.-..-- -- - -Y'--                             --.- ----------- -..--
          (239,
              )300-6656                                                                                               JLL 112222
          S Hllminski@ live.com                                                                                      ANouo :,Noau:
                                                  certificate ot-sew ice                                            cuEnxus.
                                                                                                                    s        asm
                                                                                                                     .D.oF/L .
                                                                                                                                 cm
                                                                                                                             - .pa
          Copiesofthisdocumentand any attachmentts)wasserved upon thep le                                                                ..              .
          and/orem ailand/orthe e-flling system in thiscase.                                                                                                 .,,.,-- .-...-.-- .- -
                                                                                                                                    zuscvuzbs'sczr= sn
          D ated this 1Stday ofJuly,2022.                                                                             > > r.
                                                                                                                               uw   .

          -/s/-ScottHum insld                                                                            ?      rrz-
                                                                                                                   '''':
                                                                                                                       '
                                                                                                                       r
                                                   -..  '                                                    YW
                                                       v smy....
                                                               x.
                                                            zw
                                                            -    ,r'                            .
                                                                                                    -.


          Scot'tH um inskl                  -    -.
                                                  --
Case 1:22-cv-21827-KMW Document 12 Entered on FLSD Docket 07/12/2022 Page 2 of 10
                                              In The
                        U nited States D istrict Court
                        Southern D istrict ofFlorida
  THOM AS KENNEDY,                                           N 'lm ber:1:22-cv-21827-KM W
         PLAINTIFF,


  RONALD DESANTIS,ET M ,
         D EFENDANTS.


                                 M O TIO N T O IN T ER V EN E

         NOW COM ES, ScottHllminski (ûll-
                                        luminski'),and moves to intervene pursuant to
  F.R .C .P.24 as follow s:
      1. A central gravam en of the Com plaint is that R onald D esantis engages in a system ic
         procedure,policy,custom orpractice ofsilencing FirstAm endm entspeech viatheuse of
         notorious discrim inatory tacticstargeting speech ofthose ofa specific group such as'
                                                                                             the
         Plaintiffand Hum inski,both statm ch critics ofthe Florida G overnor and police state. In
         the case at B ar, one of those viewpoints is that residents of Florida have the right to
         freedom ofspeech absentthefearofgovernmentalretaliation orviewpointdiscrimination
         based upon a criteria such as the content of speech or, m ore succinctly, speech w ith
         contelitthatdiscusses topics thatthe governmentis uncom fôrtable with,such as,what
         Plaintiff and Huminsld consider unconstitutional and oppressive conduct of Ronald
         D esantis.
      2. H um insld,a 10 yearresidentof Florida,is a long-tim e critic ofthe ttplodding steerofthe
         State''whetheritbein Huminskiv.Corsones,396F3d 53,90 (2nd Cir2005),orasthe
         leaderand founderofScottX and the Constitm ion Com m andos,an anti-police-state rock
         band,w ith halfam illion viewsoftheiryoutubem usicvideos. See ExhibitGW ''7W HEN
         COU RTS SU BV ERT LA W TO BAN ISH A CRITIC , CH AR LES LEV EN DO SKY c.
         2000Casper(W yo.)Star--fribtme(discussingHllminski'sFirstAmendmentissues).
         In retaliation for Hum inski's anti-police-state First Am endm ent core protected political
         expression,Ronald D esantisengaged in the follow ing retaliatory conduct:
                 . In 2021 and 1022 Ronald Desantis engaged in a course of conductin the
                      Flor
                         D
                          ida State courts that sought to silence any and a11 com mtmication by

                        -;                                                       V-
                        jr..
                        .  2.                                                     éiy
                                                                                 ..
                                                                                 .


                       Sj                                                     W#
                       X                       i
                                                                             >                         =
Case 1:22-cv-21827-KMW Document 12 Entered on FLSD Docket 07/12/2022 Page 3 of 10
                                Hum inski w ith the entire State of Florida governm ent for life that w as'
                                preceded by thefollow ing patently illegal/unconstitutionaldeeds,
                            . Huminskiwas crim inally prosecuted in State v.Huminski,17-M M -815,Lee
                                County Courtabsent a State of Florida charging document authored by the
                                State or signed by a legitim ate State of Florida prosecutor w ith the only
                                docum ent that could be deemed as a com mencem ent/charging docum ent
                                being ashow cause ordercopiedfrom anotherFloridaCourt(the20thCircuit
                                Court),a true and correctcopy ofthe orderattached to atlassociated Court
                                Paperareattached hereto asExhibitGtB''
                            @ A state prosecutor did show up at hearings in State v. H um inski and, of
                                course,successfully pursued the case to crim inalconviction absentthe filing
                                of a charging docum ent and without bothering to serve H um inski w ith a
                                commencem entdecument.
                            . Atconviction the State of Florida insisted upon arlorderbarring Hllminski
                                from any contactwith the State ofFlorida forlife. A trueand correctcopy of
                                a courtfiling of H um inski detailing the lifetim e FirstA m endm ent censoring
                                ofHuminsld and othercase detailsin State v.Huminskiisattached hereto as
                                Exhibit (&C''. Included in Exhibit <EC''are papers forbidding H um inskifrom
                                reporting crim e to his local sheriff as another violation of the First
                                Am endm ent absent any procedlzral or substantive Due Process. A First
                                Am eùdm ent summ ary punishm ent. The State stipulated in the case that
                                H um insld could speak to his local sheriff only if spoken to and reporting
                                crim e and other com m tm ication w as prohibited.                                                  Excerpt prohibiting
                                Huminsld communication below,for life,whereby Huminslci's local sheriff
                                wasa defendantin the lEcivil''case and the State ofFloridawastheplaintiffin
                                State v.H um inski. N o com m unication by a residentofthe State to the entire
                                State ofFlorida governm ent.A bitover-broad considering the tûparties''
          V,ITKRIQ t#x alp LaR W?A VM aNY lnorrrlabopIAttyd                             (;US F< Dtl/ 8 W j kj1% arnluy!$
                                                                                                                            .                #k
     .                 .    .           +
               .                            Fo                       qaca                 m       yu               .. .
                       x                                                                                                            .   .          gc
   pa-î-
       ent
         qc rnvx%g
                 katou-ii
                        eot
                          x-ox -== eAt
                                     b'r                                                          .                     ru- ar'ia            .
   lfnrobaen K'IArm,wrxo.nhrnnrse-oelkrng,m,..a..,...%.œ.ua'wpwx,.zw..,---...--.rw. ..-.- - -.- .... -,. . .            .       .



         4. In State courtlitigation in the llthJudicialCircuitand the 3rdDistrictCourtofAppeal,
             D efendantD esantis conspired w ith Florida A ttorney GeneralA shley M oody to m ake the
                                                 th in the prior paragraph perm anent. This conduct
             lifetim e speech prohibition set fol'                                                                  .
                       7                                                                                            .
                     2 t
                     '-D?
                                                                                4                              z)
                      sg
                     ,.c                                                                                       +!

                   '= ''
                   +                                      v
                                                          L
                                                          .                                                    .
                                                                                                               =
          Case 1:22-cv-21827-KMW Document 12 Entered on FLSD Docket 07/12/2022 Page 4 of 10
                               appears to violate 18 U.S.C.241,242,a criminalstatm e thatcan notbe prosecuted by
                               Hum insld nor Plaintiff.
                       5. Huminsld did notonly sufferthe sam e FirstAm endm entviewpointbased discrim ination
                               asthePlaintiff,and DueProcessï qualProtection violations- hewasincarceratedforhis
                               speech Gtcrim e''and,asa fully disabled American forthe last10 yearsdetermined by the
                               SocialSecurity Administration,continuesto suffershock and injury to mind and body
                               and theexpected productsofa void ab initio criminaljudgmentincluding prejudice in
                               obtaining credit,housing,em ploym entand continued harassm entfrom Ronald D esantis,
                               via on-going collection activities arising from the State v.Huminski void dGcrim inal''
                               judgmentconcerning fmes,costsand feesthatDefendantDesantisfoughtvigorously to
                               m aintain in 2021and 2022 in Statecourts.Theseill-gotten gainsand pecuniary windfalls
                               dem anded by the State,to thisday,only apply to a statm ory crim inalconviction in a case
                               that,in the bestlight,w as a suigeneris com m on 1aw case - contem pt,w hereby,only the
                               allegedly offended Cout'
                                                      thasthq ability to hearand conducta trial(i.e.only the 20th
                               CircuitCourthad subjectmatterjurisdiction to hearcontemptin Huminskiv.Town of
                               Gilbert. Et a1., 17-CA-421, not a County Court crim inal case captioned as State v.
                               Humirlki). See Huminsld v.State,2d19-1247 (FL 2 DCA 2019) (hearing contempt
                               privateto the allegedly offended Courtl. See also Exhibit:GB''. See Generally,South
                               DadeFarmsv.Peters,88 So.2d 89l(F1a.1956).lfacourtrntersan orderpriorto the
                               filingofproperpleadings,thecourtlacksjurisdiction. Lovettv.Lovett,93Fla.611,112
                               So.768,775-76 (1927). Despitethe lack ofjurisdiction,DefendantDesantis choseto
                               conspirew1t.13AsbleyM oody,Esq.toassurethatHuminskiwasprejudiced with thevoid
                               ab initio perpem alspeech prohibition and crim inalconviction forlife in contravention of
i                              theUnited StatesConstitution.
I

1                      6. Huminsld'slong-tim e labeling ofFlorida as a Police State is notfar from reality when
                               crim inalprosecutions com m ence absentthe participation ofthe State,w ithoutselwice and
    -   -- -         - -   -
                               proceed-to judgment-in-the-absence-of-..
                                                                      any-.r d--all--jurisdiction-and-.
                                                                                                      banish-all---
1
                               'com m unication w ith the entire State of Florida governm ent for life. W hat notoriously
                               cornlptentity filed the comm encem entdocum entin Statev.Hum inskirem ainsam ystery
                               although thefoigery wasaccomplished by AssistantState'sAtiorney Anthony Kunasek
                               (suicide2022 relatedtotheseissues)and thepapercontainsno signatureofan attorney
                               representing the State of Florida,yet, a crim inal conviction stands to this day per se
                               prejudicing Huminskipreventing llim from obtaining a Florida Driver's License and
                2,
                --                                                      5      ,>
                 !)                                                            ---
                                                                                 t
                                                                                 j
                                                                                 .
               X                                                              W
               W                                                              W
                     Case 1:22-cv-21827-KMW Document 12 Entered on FLSD Docket 07/12/2022 Page 5 of 10
                                      causinghim injuryandprejudice.RonaldDesantishasdonehisverybestinotherforato
                                      cover-up the patently illegal and unconstitutional conduct foisted upon Huminsld set
                                      forth in m aterial herein and this conduct proxim ately caused the suicide of State
                                      prosectltor Anthony Ktmasek, Esq. who forged the charging docllment in State v.
                                      H um inski. The suicide occurred 30 days after the issue w as brought to the attention of
                                      the federalcourts. N othing seem s to shock the consciousness in a police state pursuing
                                      an agenda ofsilencing dissent.
                                7. DefendantDesantishas directed his attorney generalto obsessively oppose any attempt
                                      by Hllm inskiregarding a collateral attack upon Huminskiv.State or any attempt to
                                      vindicate his rights related to Hum inskiv.State in bad faith and w ith unclean hands on
                                      thepartofthe StateofFlorida concerning theirsecuring ofa lifetime speech prohibition
                                      and crim inalcopviction absenttheir authoring of a com m encem ent doctlm entand absent
                                      service :1Statev.Huminskiandwith theperpetualgovemmentalspeech banishmentts)
                                              .



                                      on therecord in thatm p er. SeeExhibittGC''
                                8. Ronald Desantis,did directhisAttorney Generalto use any and a11m ethodsto continue
                                      the First A m endm ent prohibitions foisted upon Hum inski in State v. H um inski on or
                                      aboutSeptem ber 1,2021.
                                9. The m otivations ofR onald D esantis related to H tlm inski's setof facts boils dow n to the
                                      silencing ofdissentand coreprotected politicalexpression thatisprotected atan elevated
                                      level. The speech prohibitions foisted upon Hllm inski are absolute as far as speech
                                      directed to the governm entofthe State ofFlorida as ordered by the County Courtin State
                                      v.Hum inski. The speech prohibitions foisted upon the Plaintiff are sim ilarwithoutthe
                                      fonnalissuanceofa courtorderasin Hum inski'sscenario.
                                10.Hum inskiwould be happy to withdraw this paper if the State concedes to addressthe
                                      void ab initiojudgmentin Statev.Htlminski(stipulating to itsvoid ab initio stat'usthus
                                      abolishing the speech prohibitions) and stops its collection activities related to the
                                      crim inal conviction and rem oves the crim inal conviction from a1l records. Civilized
--   - -- -- -   -     --   -     -   sellement-is-alw ays.-a-preferable-route-to-litigation,-butv-it-requires-an-admission-of--u-.--.---- ..
                                      m ong-doing w hich governm entalentities rarely succum b to.
    Case 1:22-cv-21827-KMW Document 12 Entered on FLSD Docket 07/12/2022 Page 6 of 10
                                                 M em orandum ofL aw

                 UnderFed.Rule Civ.P.24(a)(2),upon timely application,anyoneshallbepermitted to
      intervene in an action when the applicantshow s:

      (1)hisapplicationtointerveneistimely;
      (2)hehasaninterestrelatingtothepropertyortransaction whichisthesubjectoftheaction;
      (3)heisso situatedthatdisposition oftheaction,asapracticalmatter,mayimpedeorimpairhis
      ability to protectthatinterest;and
      (4)hisinterestisrepresentedinadequately bytheexistingpartiestothesuit.
      Foxv.TvsonFoods.Inc.,519F.3d1298,1302-03(11thCir.2008)(quotingChflcsv.Thornburgh,
l     865F
           2d 1197,1213(111 Cir.1989)).
             .




                 Here,Huminski'srequestforinterventionsatisfiestherequirementsofRule24(a)(2)for
      intervention asofrilht.

                                  1.H um inski's M olion to Intervene isT im ely
                 TheEleventh Circuithasidentified severalfactorsrelevantto determining whethera
      requestforintervention istim ely:
      (1)thelengthoftimeduringwhichtheproposedintervenorknew orreasonably shouldhave
      known oftheinterestin the casebeforemovingto intezvene;
      (2)theextentofprejudicetotheexistingpartiesasaresultoftheproposedintervenor'sfailureto
      m ove forintervention assoon as itknew orreasonably should have know n ofitsinterest;
      (3)theextentofprejudicetotheproposedintervenorifthemotionisdenied;and
      (4)theexistenceofunusualcircumstancesrnilitatingeitherfororagainstadetermination that
      theirm otion w as tim ely.
      Geow iav.U.S.ArmvCorpsofEnç'rs.302F.3d 1242,1259(111 Cir.2002)(citing Chiles,865
      F.2dat121j).
                 Tltis-Cl
                       --trcul
                             -kthasrecognized thatthe requirem entoftim el'
                                                                          r ess <<m usthave
                                                                          m
      accom modating flexibility toward both thecourtandthelitigantsifitistobesuccessfully
      employedtoregulateinterventionintheinterestofjustice.''U.S.Army CorpsofEng'rs,302
      F.3dat1259(quotingM cDonaldv.F.J.LavinoCo.,430F.2d1065,1074(5th Cir.1970)).

                         2.H um inskihasa SubstantialLegalInterestin thisLitigation

                                            )
                                            ,.                                                .
                                                                                              j)
                                            l
                                            .t                                                --
                                                                                               ;
                                                                                               )
                                          #:                                                  A
         1
         =
                                          .k                        1
                                                                    ==
                                                                                              .
          Case 1:22-cv-21827-KMW Document 12 Entered on FLSD Docket 07/12/2022 Page 7 of 10
                          Foranapplicant'sinterestinthesubjectmatterofthelitigationtobecognizableunder
               Rule24(a)(2),itmustbeffdirect,substantialandlegally protectable.'' U.S.Army Corpsof
               Eng'rs,302F.3dat1249,*seealsoChiles,865F.2dat1212-13(notingthatthefocusofaRule
               24inquiryisffwhethertheintervenorhasalegallyprotectableinterestin thelitigation.,').The
                   inquiry on this issue ffis ta flexible one,w ltich focuses on the particular facts and circum stances
               surroundingeach Emotionforinterventionl.''' Chiles,865F.2dat1214 (quotingUnitedStatesv.
               Perry Cnly.Bd.ofEduc,567F.2d277,279(5thCir.1978)).
                          Huminskihasalegally protectableinterestin thislitigation asaparty im pacted as
                   greatly,orm oreso,by the State ofFlorida'szealtosilencespeechbasedupon discrim inatory or
               viewpointbased criteria.Huminski'sspeech,criticalofgovernm ent,iscoreprotected political
                   expression - dissent,afforded thehighestlevelofFirstAm endmentprotection.
                          TheCourtordersissued in Statev.Hum inskihavethesame chilling effectupon
                   Huminski'sspeechthattheunwritten speechprohibitionsfoisteduhonthePlainuff -silencing
                   ofspeech thatthe governmentfindsdistasteful.


                    3.    TheDisposition oftheInslantLitigation M ay ImpairHum inski'sAbility toProtect
                                                               hisInterest
                          Huminski'sability to protectllissubstantiallegalinterestw ould beimpaired absent
                   intervention. Federaldecisionsinterpreting andapplying theprovisionsoftheFirstAm endm ent,
                   Due Process and EqualProtection are an im portantenforcem enttoolrelated to the Plaintiffs'and
                   Huminsld'sclaim sconcerning thediscriminatory silencing ofspeech and contentrelated
                   silencing ofspeakers,i.e.speech criticalofgovernment.
                          Theoutcom eofthiscase,includingthepotentialforappealsby existing parties,
                   im plicatesstare decisis concerns thatw arrantHum inski's intervention. See Stone v.FirstU nion
                   Corp.,371F.3c11305,1309-10(11thCir.2004)(recognizingthatpotentialforanegativestare
                   decisiseffectRmaysupplythatpracticaldisadvantagewhichwarrantsintervention ofrighf')
                   (citingChiles,865F.2dat1214),    .seealsoUnitedStatesv.CityofLosAnçeles,288F.3d391,
-   .   - --   -
                   400-(-9th-Cir=2002-)(holding-that-amiGus.Guriae.stams-may.
                                                                            be-insufficient-to-protect-le.rights-of ----- ----.--
                   an applicantforintervention Rbecausesuch statusdoesnotallow gtheapplicantlto raiseissuesor
                   argumentsformally andgivesitnorightofappear).W ltiletheexistingpaztiestothelitigation
                   willnotbeprejudicedbyHuminski'sintervention,Huminskiwillbeprejudicedifitsrequestfor
                   intervention is dertied. This intervention m otion is priorto an appearance.by R onald D esantis.


                            4.TheExisting'partiesDo NotA dequately RepresentH um inski'sInterests
                                              )
                                              -                      g                                 r-
                                                                                                        t
                                              J-J                                                      71
                                              ):5L
                                                 v                                                     J:.
                                           +                                                          +
                                          .W                         a                                W   .

                                          >                          =                               - j
         Case 1:22-cv-21827-KMW Document 12 Entered on FLSD Docket 07/12/2022 Page 8 of 10


                          Thefourth andfinalelementtojustifyinteweùtion ofrightisinadequaterepresentation
                   oftheproposed intervenor'sinterestby exising partiestothelitigation becausethebackground
                   factspresentaslightly differentapproach to thesamelegalissue- outofcontrolgovernmental
                   censorship. This elem entissatisfied ifthe proposed intervenor ddshow sthatrepresentation ofhis
                   interestfmaybe'inadequate.'' Chilcs,865F.2dat1214(quotingTrbovichv.UnitedM ine
                   Workers# Am.,404U.S.528,538n.10(1972)).Theburden ontheproposedintervenorto
                   show thatexisting partiescmm otadequately representitsinterestisfrm irlimal.'' Stone,371 F.3d
                   1311,
                       .U.S.Arm vCorpsolEnq'rs,302F.3dat1259(citing FrboWch,404U.S.at538n.10).Any
                                 -



                   doubtconcerning thepropriety ofallowing interventionshouldberesolved in favorofthe
                   proposedintervenorsbecause itallowsthe courttoresolve allrelated disputesirlasingle
'                  action.Lovdv.Ala.Dep'tofCorn,176F.3d 1336,1341(111 Cir.1999);Fed.Slv.& LoanIns.
                   Corp.v.FcllsChaseSpecialTaxinqDist,983F.2d211,216(11th CiT.1993).
                          Hum inski's interestisin the enforcem entofthe FirstA m endm ent,D ue Process and Equal
                   Protection and to advancethe publicinterestin elim inatingspeech discrimination and
                   prohibiions in the contextofa courtorderunlike the claim s ofthe Plaintiffthatdo notinvolve
                   thespeech prolzibition beilzg setforth in a Courtorderthatcan lead to incarceration pursuantto
                   com m on law contem pt. Itappearsthatthe Plaintiffsuffers a speech prohibition akin to
I                  Huminskiv.Corsones,396F3d53,90(2ndCir2005)andtheillegalnoticeagainsttrespassthat
                   w ascenkalto thatcase.
                          ln summary,Huminsld meetstheRule24(a)requirementsforinterventionasofright.

                                5.H um inskiM eetsthe R equirem entsfor Perm issive Intervention
'                         Fed.R.Civ.P.24(b)providesforpermissiveintervention asanalternativebasisfor
1
                   Huminski'sinterventioninthisaction.Rule24(b)states,inrelevantpart:
                   (1)Ontimelymotion,thecourtmaypermitanyonetointervenewho:
                   (A)isgivenaconditionalrighttointervenebyafederalstamte;or
-   -   - -   -.
                   (B).has-a-dai.
                                m (.
                                   lrdefense-labshares-with.le.w
                                                               m in-acdon.avcompon question-of-law-or-fact.          ----.-- -
!
:                  (2)Ontimely'motion,thecourtmaypermitafederalorstategovernmentalofficeroragencyto
                   intervene ifa party's claim ordefense isbased on:
                   (A)astatuteorexecutiveorderadministeredbytheofficer0ragency;Or
                   (B)anyregulation,order,requirement,oragreementissued ormadeunderthestatuteor
                   executive order.

                                                                  9
    Case 1:22-cv-21827-KMW Document 12 Entered on FLSD Docket 07/12/2022 Page 9 of 10
      (3)lnexercisingitsdiscretion,thecourtmustconsiderwhethertheinterventionwillundtlly
      delay orprejudicetheadjudication oftheoriginalparties'rights.
               TheEleventh Circuithasestablished atwo-parttestto guidethe Court'sdiscretion asto
      whetherapartymayintervenepursuanttoRule24(b)(2):theapplicantmustshow thatff(1)his
      applicationtointerveneistimely;and(2)hisclaim ordefenseandthemainactionhavea
      question oflaw orfactin common.''Chiles,865F.2dat1213(citingSellersv.UnitedStates,
      709F.2d1469,1471(11thCir.1983)).
               A sdiscussed above,Huminski'sapplication forinterventionin thislitigation istim ely
      andHuminski'sparticipationwouldneitherundulydelaytheproceedingsnorprejudicethe
      adjudication oftherightsoftheoriginalparties.Additionally,Huminski'sclaimsagainstthe
!     defendantshare com m on questionsoflaw w ith Plaintiff's claim s,and restupon com m on
i
i     questions oflaw related to censorship and constitutionalissuesflow ing from content-based
l
      censorship.
               By avoiding multiplelawsuitsand coordinating discovery,intervention * 11lend
      efficiency totheproceedings.
               Accordingly,Huminsld meetstherequirem entsforpermissiveintervention.


                                           111. CO N CLU SION
             Fortheforegoingreasons,theCourtshouldgranttheM otion toIntervene(i)asamatter
      ofrightpursuanttoRule24(a)(2),FederalRulesofCivilProcedure,or,inthealternative,(ii)
      permissivelypursuanttoRule24*)FederalRulesofCivilProcedure.



                                                                                                                          -.,-w---.,-.----ev''''-ww v   ww''>
      D ated atM iam i-
                .     e Florida this 1Stda
                                        ' v
                                          - ofJuly,
                                                 - 2022.                                 s--grw-
                                                                                               ..,-
      -
          /S/- ScottHuminski                                                         yg
                                                                                     y
                                                                                  p%'î yw
                                                                                        a  ov.   ..< m                 .. .
                                                                            ****
                                                                            .
                                                                       W
      ScottHum inski,prose                    A
      P.O .B ox 353820
      Palm Coast?FL 32135
      (Q39)300-443-6
       S Huminski@ live.com
                                            Certificate ofService

      Copiesofthisdocumentand any attachmentts)wasservedupon thepartiesvia theU.S.M ails
      and/orem ailand/orthe e-filing system in this case.

      D ated this 1Stday ofJuly,2022.                        .-
                                                          .* Jm- . .   ..
                                                                                 '
                                                                                 s''z
                                                                                    '
                                                                                    W       ,,--t.   .,
                                                                                                          .,,
                                                                                                            .
                                                                                                            ,,:   ..
                                                                                                                   ..,w.,--v-.
                                                                                                                             -''-''
                                                                                                                                  r-'''
                                                                                                                                      -
      -/s/-ScottHuminski                             .
                                                ps- ,e.
                                               ..              ...,,
                                                                   ...-     .
                                                                            ..    f #-'..rvgy
                                                                                 yv
                                                                                        s
                                                                                        .

                                                                                           -,ys
                                                                                              j
                                                                                              r      r.g.e
                                                                                              ,ssosc,'



          A                      =
                                 *                                     A'                                          *
Case 1:22-cv-21827-KMW Document 12 Entered on FLSD Docket 07/12/2022 Page 10 of 10

   ScottHum inski




  <attachm entsl
